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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
FREDERICK FULLER ET AL. CASE NO. 4:20-cv-01027

V. RETURN OF SERVICE

* + + * *

JUMPSTAR ENTERPRISES, LLC ETAL.

RETURN OF SERVICE ON BRIAN TYSON

STATE OF TEXAS
COUNTY OF MONTGOMERY "

 

Before me, the undersigned authority, personally appeared Michael Ryden Bigner, who
produced as identification a Texas driver license, and who after being by me duly sworn, did depose
and state:

My name is Michael Ryden Bigner. I have personal knowledge of the facts contained herein,
and they are true and correct in every detail. I am neither a party to nor interested in the outcome of the
above-captioned cause. | am certified by the Judicial Branch Certification Commission per order of the
Texas Supreme Court in accordance with Texas Government Code § 156 to execute citations and other
notices of the Court, and make due return thereof. My process server certification number is PSC-
17780. My certification expires 1/31/2022.

Came to hand on 13 July 2020 at [7 ¢ [ o'cloc# _ m and executed on 14 July 2020 at 6:45
pm at 123 Reese Run Street, Montgomery, Texas, 77316, which is defendant's usual place of abode, by
delivering to Brian Tyson, defendant, by delivering in person to Brian Tyson, Jr., a person of suitable
age and discretion who resides there, a true copy of the following documents:

1. Summons in a Civil Action and Complaint, having first endorsed the date of delivery on the
copy of the Summons;

2. Plaintiffs' Complaint - Collective Action;

3. Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure;

4. Initial Discovery Protocols for Fair Labor Standards Act Cases Not Pleaded as Collection

Actions;

5. Order Scheduling the Rule 16 Conference With the Court and Setting Out the Court's

Requirements for Initial Pretrial Work;

6. Notice of Resetting.

 
Case 4:20-cv-01027 Document 20-1 Filed on 07/27/20 in TXSD Page 2 of 2

Executed Wf day of July 2020.

   

chael Ryden Bigne

SWORN TO AND SUBSCRIBED before me this day of July 2020.

 

Notary Public for the State of Texas

FEE: Notary Public =
Taxable Court Cost Advanced by Plaintiff STATE OF TEXAS

 

 
